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                                                                                     E-FILED
                                                           Tuesday, 01 April, 2014 03:00:41 PM
                                                                 Clerk, U.S. District Court, ILCD

                IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                          PEORIA DIVISION

PEDRO DIAZ, #B-46669,                )
                                     )
           Plaintiff,                )
                                     )
      -vs-                           )               No. 13-1537
                                     )
SALVADOR GODINEZ, RANDY PFISTER, )
MICHAEL LEMKE, PATRICK HOBART,       )
LT. PRENTISE, LT. PUNKE, LT. MILSAP, )
and LT. SCROGUM,                     )
                                     )
           Defendants.               )

                  ANSWER AND AFFIRMATIVE DEFENSES

      NOW COME the Defendants SALVADOR GODINEZ, PATRICK HOBART,

MICHAEL LEMKE, UNDRAY MILSAP, RANDY PFISTER, SUSAN PRENTISE,

TODD PUNKE, and DALE SCROGUM, by and through their attorney, LISA

MADIGAN, Attorney General of the State of Illinois, and pursuant to Local Rule

12.1, and hereby files the instant answer and affirmative defenses, stating as

follows:

                                      ANSWER

1. Defendants deny that they were deliberately indifferent to Plaintiff’s conditions

   of confinement.

2. Defendants deny that Plaintiff’s conditions of confinement deprived Plaintiff of

   the minimal civilized measure of life’s necessities.



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                              REQUESTED RELIEF

      Defendant denies that the Plaintiff is entitled to any relief.

                                  JURY DEMAND

      Defendant demands a trial by jury.

                           AFFIRMATIVE DEFENSES

      NOW COME the Defendants, SALVADOR GODINEZ, PATRICK HOBART,

MICHAEL LEMKE, UNDRAY MILSAP, RANDY PFISTER, SUSAN PRENTISE,

TODD PUNKE, and DALE SCROGUM, by and through their attorney, Lisa

Madigan, Attorney General of the State of Illinois, and hereby sets forth the

following affirmative defenses:

      1.     At all times relevant herein, Defendants acted in good faith in the

             performance of their official duties and without violating Plaintiff’s

             clearly established statutory or constitutional rights of which a

             reasonable person would have known. Defendants are, therefore,

             protected from suit by the doctrine of qualified immunity.

      2.     To the extent Plaintiff failed to exhaust administrative remedies for

             the claims in the Complaint, Plaintiff’s claims are barred by 42 U.S.C.

             § 1997e. Dixon v. Page, 291 F.3d 485, 489 (7th Cir. 2002).

      3.     To the extent that Plaintiff’s claims are against Defendants in their

             official capacity, they are barred by the Eleventh Amendment and

             Sovereign Immunity.


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      4.     To the extent that Plaintiff’s claims seek injunctive relief, his claims

             are barred by the Eleventh Amendment and Sovereign Immunity.

      WHEREFORE, for the above and foregoing reasons, Defendants respectfully

request that Plaintiff’s claims for relief be denied.

.

                                         Respectfully submitted,

                                         SALVADOR GODINEZ, PATRICK
                                         HOBART, MICHAEL LEMKE, UNDRAY
                                         MILSAP, RANDY PFISTER, SUSAN
                                         PRENTISE, TODD PUNKE, and DALE
                                         SCROGUM,

                                                Defendants,

                                         LISA MADIGAN, Attorney General,
Bradley D. Gillespie #6281462            State of Illinois,
Assistant Attorney General
500 South Second Street                         Attorney for Defendants,
Springfield, IL 62706
(217) 785-4555 Phone
(217) 524-5091 Facsimile                 By:    s/ Bradley D. Gillespie
Email: bgillespie@atg.state.il.us                Bradley D. Gillespie, #6281462
                                                 Assistant Attorney General




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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 1, 2014, the foregoing document, Answer and
Affirmative Defenses, was electronically filed with the Clerk of the Court using the
CM/ECF system, which will send electronic notice to the following:

                                       None

and I hereby certify that on the same date, I caused a copy of the foregoing
described document to be mailed by United States Postal Service, in an envelope
properly addressed and fully prepaid, to the following non-registered participant:

Pedro Diaz #B-46669
Stateville Correctional Center
P. O. Box 112
Joliet, Illinois 60434


                                      Respectfully Submitted,


                                       s/ Bradley D. Gillespie
                                      Bradley D. Gillespie, #6281462
                                      Assistant Attorney General
                                      500 South Second Street
                                      Springfield, Illinois 62706
                                      (217) 785-4555 Phone
                                      (217) 524-5091 Fax
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